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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                            CASE NO. 20-22450-CV-COOKE/REID

 LITORRENCE GEE ALLEN,

 Plaintiff,

 v.

 MIAMI-DADE COUNTY CORR.
 AND REHABILITATION, et al.

 Defendants.
 __________________________________/
                       ORDER APPROVING AND ADOPTING
              REPORT AND RECOMMENDATION OF MAGISTRATE JUDGE
         THIS MATTER was referred to the Honorable Lissette A. Reid, United States
 Magistrate Judge, pursuant to 28 U.S.C. § 636(b)(1)(B) and Administrative Order 2019-2 of this
 Court, for a ruling on all pre-trial, non-dispositive matters and for a Report and
 Recommendation on any dispositive matters [ECF No. 2]. On October 21, 2020, Judge Reid
 issued a Report and Recommendation (the “Report”) [ECF No. 9] recommending that
 Plaintiff ’s Complaint be dismissed with prejudice for failure to state a claim. Plaintiff did not
 file any objections to the Report. Furthermore, I find Judge Reid’s Report to be clear, cogent,
 and compelling.
         It is, therefore, ORDERED and ADJUDGED that Judge Reid’s Report [ECF No. 9] is
 APPROVED and ADOPTED. Accordingly, the Complaint is DISMISSED with prejudice.
 The Clerk is directed to CLOSE this case.
         DONE and ORDERED in Chambers at Miami, Florida, this 14th day of January
 2021.




 Copies furnished to:
 The Honorable Lissette Reid, U.S. Magistrate Judge
 Litorrence Gee Allen, pro se
 Counsel of record
